              Case 24-13427-SLM                   Doc 1      Filed 04/02/24 Entered 04/02/24 18:56:03                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Supor Properties Enterprises LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  433 Bergen Avenue
                                  Kearny, NJ 07032
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Hudson                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Supor Properties Enterprises LLC                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




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Debtor    Supor Properties Enterprises LLC                                                                Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    Supor Properties Enterprises LLC                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 2, 2024
                                                  MM / DD / YYYY


                             X /s/ Joseph Supor III                                                       Joseph Supor III
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Authorized Member




18. Signature of attorney    X /s/ Michael E. Holt                                                         Date April 2, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Michael E. Holt
                                 Printed name

                                 Forman Holt
                                 Firm name

                                 365 Passaic Street, Suite 400
                                 Rochelle Park, NJ 07662
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (201) 845-1000                Email address      mholt@formanlaw.com

                                 024511990 NJ
                                 Bar number and State




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Debtor     Supor Properties Enterprises LLC                                                 Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                   Chapter      11
                                                                                                                         Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     J Supor 136-1 Realty LLC                                                Relationship to you               Affiliate
District   New Jersey                                 When                         Case number, if known
Debtor     JS Realty Properties, LLC                                               Relationship to you               Affiliate
District   New Jersey                                 When                         Case number, if known
Debtor     Shore Properties Associates North LLC                                   Relationship to you               Affiliate
District   New Jersey                                 When                         Case number, if known
Debtor     Supor Properties 600 Urban Renewal, LLC                                 Relationship to you               Affiliate
District   New Jersey                                 When                         Case number, if known
Debtor     Supor Properties Bergen Avenue LLC                                      Relationship to you               Affiliate
District   New Jersey                                 When     7/05/23             Case number, if known             23-15758
Debtor     Supor Properties Breiderhoft LLC                                        Relationship to you               Affiliate
District   New Jersey                                 When                         Case number, if known
Debtor     Supor Properties Devon LLC                                              Relationship to you               Affiliate
District   New Jersey                                 When                         Case number, if known
Debtor     Supor Properties Harrison Avenue LLC                                    Relationship to you               Affiliate
District   New Jersey                                 When                         Case number, if known
Debtor     Supor-172 Realty LLC                                                    Relationship to you               Affiliate
District   New Jersey                                 When                         Case number, if known




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                           RESOLUTION OF SPECIAL MEETING OF
                           SUPOR PROPERTIES ENTERPRISES LLC

       I, Joseph Supor III, hereby certify that at a special meeting of the Members of Supor

Properties Enterprises LLC, held on the 2nd day of April, 2024, the following resolutions were

proposed and unanimously adopted by all Members:

                 Resolved, that Supor Properties Enterprises LLC, is hereby authorized to file
                 a petition for relief under Chapter 11 of the United States Bankruptcy Code
                 and to retain the law firm of Formanlaw LLC d/b/a Forman Holt for the
                 purpose of preparing, filing, and prosecuting a petition under Chapter 11 and
                 to take all steps necessary and related thereto, and that Joseph Supor III as
                 authorized member is authorized to execute the petition and any other
                 pleadings or documents that he and counsel deem necessary in connection
                 with the Chapter 11 case of Supor Properties Enterprises LLC.

                 And it is further,

                 Resolved, that Supor Properties Enterprises LLC is authorized to retain
                 K&L Gates LLC as special counsel in the Chapter 11 case of Supor
                 Properties Enterprises LLC.

      I further certify under penalty of perjury that the above statements made by me are true. I
am aware that if any of those statements are willfully false, I am subject to punishment.


                                               Supor Properties Enterprises LLC


                                               By: /s/ Joseph Supor III
                                                   Joseph Supor III, Authorized Member




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 Fill in this information to identify the case:
 Debtor name Supor Properties Enterprises LLC
 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY                                                                              Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 PSE&G                                                                         Contingent                                                                            $848.98
 80 Park Place                                                                 Unliquidated
 Newark, NJ 07102
 NJ Dept of                                                                    Contingent                                                                            $660.00
 Environmental                                                                 Unliquidated
 Protection
 Mail Code: 401--6L
 PO Box 0420
 Trenton, NJ
 08625-0420
 Verizon                                                                       Contingent                                                                            $578.00
 500 Technology                                                                Unliquidated
 Drive, Suite 550
 Weldon Spring, MO
 63304
 M & J Comprelli,                                                              Contingent                                                                                $0.00
 LLC                                                                           Unliquidated
 63 Tiffany Drive
 East Hanover, NJ
 07936
 Railworks Track                                                               Contingent                                                                                $0.00
 Services                                                                      Unliquidated
 600 Meadowlands
 Parkway. Suite 265
 Secaucus, NJ 07094




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                        1000 Frank E. Rodgers 1 LLC
                        520 Madison Avenue, Suite 3501
                        New York, NY 10022


                        Harrison Redevelopment Agency
                        Attn: Paul Zarbetski, Esq.
                        318 Harrison Ave
                        Harrison, NJ 07029


                        Harrison Redevelopment Agency
                        c/o James Bruno, Esq.
                        Castano Quigley LLC
                        155 Passaic Ave, Suite 340
                        Fairfield, NJ 07004


                        Jerold C. Feuerstein, Esq.
                        Kriss & Feuerstein LLP
                        360 Lexington Avenue, Suite 1200
                        New York, NY 10017


                        M & J Comprelli, LLC
                        63 Tiffany Drive
                        East Hanover, NJ 07936


                        NJ Dept of Environmental Protection
                        Mail Code: 401--6L
                        PO Box 0420
                        Trenton, NJ 08625-0420


                        PSE&G
                        80 Park Place
                        Newark, NJ 07102


                        Railworks Track Services
                        600 Meadowlands Parkway. Suite 265
                        Secaucus, NJ 07094


                        Town of Harrison
                        318 Harrison Avenue
                        Harrison, NJ 07029


                        Verizon
                        500 Technology Drive, Suite 550
                        Weldon Spring, MO 63304
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                                            United States Bankruptcy Court
                                                   District of New Jersey
 In re   Supor Properties Enterprises LLC                                              Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Supor Properties Enterprises LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
S & B Realty Partnership
433 Bergen Avenue
Kearny, NJ 07032




  None [Check if applicable]




April 2, 2024                                    /s/ Michael E. Holt
Date                                             Michael E. Holt
                                                 Signature of Attorney or Litigant
                                                 Counsel for Supor Properties Enterprises LLC
                                                 Forman Holt
                                                 365 Passaic Street, Suite 400
                                                 Rochelle Park, NJ 07662
                                                 (201) 845-1000
                                                 mholt@formanlaw.com
